  Case 11-00104-TLM           Doc 47      Filed 01/08/13 Entered 01/08/13 16:04:00                 Desc
                                             Page 1 of 10

                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF IDAHO


       In re: FEHRER, LYNN ADAM                                       §    Case No. 11-00104-TLM
                                                                      §
                                                                      §
   Debtor(s)                                                          §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         Richard E. Crawforth, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $242,420.00                          Assets Exempt: $113,499.24
 (without deducting any secured claims)
 Total Distribution to Claimants:$11,394.89            Claims Discharged
                                                       Without Payment: $18,348.92

 Total Expenses of Administration:$4,193.55


         3) Total gross receipts of $     15,588.44      (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $       0.00    (see Exhibit 2  ), yielded net receipts of $15,588.44
from the liquidation of the property of the estate, which was distributed as follows:




UST Form 101-7-TDR (10/1/2010)
  Case 11-00104-TLM             Doc 47       Filed 01/08/13 Entered 01/08/13 16:04:00                        Desc
                                                Page 2 of 10


                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                         $326,655.94             $0.00              $0.00              $0.00

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00           4,193.55          4,193.55           4,193.55

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                      0.00               0.00               0.00                 0.00
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                     29,966.64          21,893.17          21,893.17         11,394.89

                                          $356,622.58         $26,086.72        $26,086.72         $15,588.44
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on January 14, 2011.
  The case was pending for 23 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 12/13/2012                 By: /s/Richard E. Crawforth
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




UST Form 101-7-TDR (10/1/2010)
               Case 11-00104-TLM                 Doc 47        Filed 01/08/13 Entered 01/08/13 16:04:00                          Desc
                                                                  Page 3 of 10



                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                           UNIFORM                               $ AMOUNT
              DESCRIPTION
                                                                                          TRAN. CODE 1                           RECEIVED
     CASH ON HAND                                                                         1129-000                                    35.00

     CHECKING ACCOUNT/PIONEER FCU                                                         1129-000                                    36.84

     SAVINGS ACCOUNT/PIONEER FCU                                                          1129-000                                    31.25

     1992 TOYOTA LANDCRUISER (206,000 MILES)                                              1129-000                                   425.00

     2008 HONDA CBR 1000RR                                                                1129-000                                  1,110.35

     1997 SKI NAUTIQUE BOAT AND TANDEM AXLE TRAILER                                       1129-000                                 10,465.00

     2010 TAX REFUNDS                                                                     1224-000                                  3,485.00


    TOTAL GROSS RECEIPTS                                                                                                          $15,588.44

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                           UNIFORM                               $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                          TRAN. CODE                                PAID
                                                                  None

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                              $0.00
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED               CLAIMS                  CLAIMS          CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form            ASSERTED                ALLOWED           PAID
                                                       CODE                6D)
 NOTFILED         Specialized Loan Services            4110-000               42,454.29           N/A                   N/A                     0.00

 NOTFILED         Honda Finance                        4110-000                3,889.65           N/A                   N/A                     0.00

 NOTFILED         Wells Fargo                          4110-000               63,069.00           N/A                   N/A                     0.00

 NOTFILED         Flagstar Bank                        4110-000             217,243.00            N/A                   N/A                     0.00


    TOTAL SECURED CLAIMS                                                   $326,655.94                  $0.00            $0.00                 $0.00




UST Form 101-7-TDR (10/1/2010)
         Case 11-00104-TLM       Doc 47   Filed 01/08/13 Entered 01/08/13 16:04:00        Desc
                                             Page 4 of 10

EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                   UNIFORM
    PAYEE                                         CLAIMS      CLAIMS         CLAIMS          CLAIMS
                                    TRAN.
                                                 SCHEDULED   ASSERTED       ALLOWED           PAID
                                    CODE
 Richard E. Crawforth               2100-000          N/A        2,308.84      2,308.84           2,308.84

 Richard E. Crawforth               2200-000          N/A           41.81         41.81             41.81

 MUSICK & SONS, AUCTIONEERS &       3610-000          N/A        1,465.00      1,465.00           1,465.00
 APPRAISERS, INC.
 MUSICK & SONS, AUCTIONEERS &       3620-000          N/A           45.00         45.00             45.00
 APPRAISERS, INC.
 The Bank of New York Mellon        2600-000          N/A           25.61         25.61             25.61

 The Bank of New York Mellon        2600-000          N/A           30.14         30.14             30.14

 The Bank of New York Mellon        2600-000          N/A           27.32         27.32             27.32

 The Bank of New York Mellon        2600-000          N/A           26.36         26.36             26.36

 The Bank of New York Mellon        2600-000          N/A           29.03         29.03             29.03

 The Bank of New York Mellon        2600-000          N/A           27.15         27.15             27.15

 The Bank of New York Mellon        2600-000          N/A           28.83         28.83             28.83

 The Bank of New York Mellon        2600-000          N/A           26.06         26.06             26.06

 The Bank of New York Mellon        2600-000          N/A           27.23         27.23             27.23

 The Bank of New York Mellon        2600-000          N/A           26.78         26.78             26.78

 The Bank of New York Mellon        2600-000          N/A           31.11         31.11             31.11

 The Bank of New York Mellon        2600-000          N/A           27.28         27.28             27.28

 TOTAL CHAPTER 7 ADMIN. FEES                          N/A       $4,193.55     $4,193.55          $4,193.55
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                   UNIFORM
    PAYEE                                         CLAIMS      CLAIMS         CLAIMS          CLAIMS
                                    TRAN.
                                                 SCHEDULED   ASSERTED       ALLOWED           PAID
                                    CODE
                                               None

 TOTAL PRIOR CHAPTER ADMIN.                           N/A          $0.00         $0.00              $0.00
 FEES AND CHARGES




UST Form 101-7-TDR (10/1/2010)
            Case 11-00104-TLM        Doc 47     Filed 01/08/13 Entered 01/08/13 16:04:00                    Desc
                                                   Page 5 of 10

EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                          UNIFORM       CLAIMS             CLAIMS
   CLAIM                                               SCHEDULED          ASSERTED             CLAIMS          CLAIMS
    NO.            CLAIMANT                TRAN.        (from Form       (from Proofs of      ALLOWED           PAID
                                           CODE             6E)               Claim)
                                                     None

 TOTAL PRIORITY UNSECURED                                        $0.00               $0.00         $0.00               $0.00
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                          UNIFORM       CLAIMS             CLAIMS
   CLAIM                                               SCHEDULED          ASSERTED             CLAIMS          CLAIMS
    NO.            CLAIMANT                TRAN.        (from Form       (from Proofs of      ALLOWED           PAID
                                           CODE             6F)               Claim)
      1      CHASE BANK USA, N.A.         7100-000           14,372.00          14,861.62       14,861.62            7,735.13

      2      RC WILLEY FINANCIAL SERVICES 7100-000              881.00               379.61        379.61             197.58

      3      FIA CARD SERVICES, NA/BANK   7100-000            6,863.00            6,651.94       6,651.94            3,462.18
             OF AMERICA
 NOTFILED    Qwest                        7100-000              900.00         N/A                 N/A                   0.00

 NOTFILED    Wells Fargo                  7100-000            6,210.70         N/A                 N/A                   0.00

 NOTFILED    Bill Me Later                7100-000              739.94         N/A                 N/A                   0.00

 TOTAL GENERAL UNSECURED                                    $29,966.64         $21,893.17      $21,893.17          $11,394.89
 CLAIMS




UST Form 101-7-TDR (10/1/2010)
                Case 11-00104-TLM                          Doc 47            Filed 01/08/13 Entered 01/08/13 16:04:00                                 Desc
                                                                                Page 6 of 10
                                                                                                                                                                      Exhibit 8


                                                                                 Form 1                                                                               Page: 1

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 11-00104-TLM                                                                Trustee:       (320060)      Richard E. Crawforth
Case Name:        FEHRER, LYNN ADAM                                                      Filed (f) or Converted (c): 01/14/11 (f)
                                                                                         §341(a) Meeting Date:        02/17/11
Period Ending: 12/13/12                                                                  Claims Bar Date:             07/05/11

                                1                                        2                          3                      4                 5                    6

                    Asset Description                                 Petition/            Estimated Net Value          Property        Sale/Funds           Asset Fully
         (Scheduled And Unscheduled (u) Property)                   Unscheduled       (Value Determined By Trustee,    Abandoned        Received by       Administered (FA)/
                                                                       Values            Less Liens, Exemptions,       OA=§554(a)        the Estate        Gross Value of
Ref. #                                                                                       and Other Costs)          DA=§554(c)                         Remaining Assets

 1       RESIDENCE: 565 E. ANTON ST, MERIDIAN                          217,000.00                         0.00           DA                        0.00                   FA
          03/31/11: Stay relief ordered
         03/04/11: Motion for Stay relief filed by Flagstar Bank.
         No equity, doc's ok. No obj. dr

 2       CASH ON HAND                                                         35.00                      35.00                                    35.00                   FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

 3       CHECKING ACCOUNT/PIONEER FCU                                        147.33                      36.84                                    36.84                   FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

 4       SAVINGS ACCOUNT/PIONEER FCU                                         125.00                      31.25                                    31.25                   FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

 5       HOUSEHOLD GOODS AND FURNISHINGS                                 4,595.00                         0.00           DA                        0.00                   FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

 6       CLOTHING                                                            500.00                       0.00           DA                        0.00                   FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

 7       CAMPING AND SPORTING EQUIPMENT                                      425.00                       0.00           DA                        0.00                   FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

 8       GLOCK MODEL 32                                                      400.00                       0.00           DA                        0.00                   FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

 9       TERM LIFE INSURANCE/STATE FARM                                        0.00                       0.00           DA                        0.00                   FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

10       2000 FORD ECONOLINE E-250                                       3,000.00                         0.00           DA                        0.00                   FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

11       1992 TOYOTA LANDCRUISER (206,000 MILES)                             800.00                     425.00                                   425.00                   FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1


                                                                                                                                       Printed: 12/13/2012 11:36 AM    V.13.11
                Case 11-00104-TLM                         Doc 47        Filed 01/08/13 Entered 01/08/13 16:04:00                                Desc
                                                                           Page 7 of 10
                                                                                                                                                                Exhibit 8


                                                                           Form 1                                                                               Page: 2

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 11-00104-TLM                                                          Trustee:        (320060)     Richard E. Crawforth
Case Name:         FEHRER, LYNN ADAM                                               Filed (f) or Converted (c): 01/14/11 (f)
                                                                                   §341(a) Meeting Date:        02/17/11
Period Ending: 12/13/12                                                            Claims Bar Date:             07/05/11

                               1                                    2                         3                      4                  5                   6

                     Asset Description                           Petition/           Estimated Net Value          Property        Sale/Funds           Asset Fully
          (Scheduled And Unscheduled (u) Property)             Unscheduled      (Value Determined By Trustee,    Abandoned        Received by       Administered (FA)/
                                                                  Values           Less Liens, Exemptions,       OA=§554(a)        the Estate        Gross Value of
Ref. #                                                                                 and Other Costs)          DA=§554(c)                         Remaining Assets

12        2008 HONDA CBR 1000RR                                     5,000.00                      1,110.35                               1,110.35                   FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

13        1997 SKI NAUTIQUE BOAT AND TANDEM AXLE                   16,500.00                   16,500.00           DA                   10,465.00                   FA
          TRAILER
           Orig. Asset Memo: Imported from original petition
          Doc# 1

14        DOG                                                            0.00                         0.00         DA                        0.00                   FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

15        2010 CONSTRUCTION DEFECT CLAIM                                 0.00                         0.00         DA                        0.00                   FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

16        2010 TAX REFUNDS (u)                                      3,485.00                      3,485.00                               3,485.00                   FA

 16      Assets      Totals (Excluding unknown values)           $252,012.33                  $21,623.44                               $15,588.44                $0.00



      Major Activities Affecting Case Closing:

                   10/31/12: DISTRIBUTION CHECKS PROCESSED; PENDING FINAL BANK STATEMENT; TDR TO FOLLOW
                   10/29/12: PROPOSED DISTRIBUTION ORDER SUBMITTED TO COURT
                   10/02/12: TFR FILED WITH COURT; PENDING DISTRIBUTION ORDER - DUE 10/29/12
                   07/30/12: TFR TO UST FOR REVIEW; PENDING PERMISSION TO FILE WITH COURT
                   05/31/12: FILED REPORT OF SALE - VEHICLES
                   04/04/12: FILED NOTICE OF SALE BY TRUSTEE - LANDCRUISER AND MOTORCYCLE; SALE DATE 5/7/12
                   10/31/11: ANNUAL REPORT DUE TO US TRUSTEE
                   10/18/11: TRUSTEE IS WORKING WITH DEBTOR TO COLLECT NON-EXEMPT EQUITY IN MOTORCYCLE AND LANDCRUISER; WILL REVIEW CLAIMS TO
                   MEET ETFR OF 02/29/12
                   05/24/11: RECEIVED ORDER GRANTING APPLICATION FOR COMPENSATION - MUSICK
                   05/23/11: FILED STATEMENT OF NO OBJECTION AND SUBMITTED ORDER APPROVING COMPENSATION OF AUCTIONEER - MUSICK
                   04/26/11: FILED AUCTIONEERS VERIFIED REPORT OF SALE AND APPLICATION FOR COMPENSATION - MUSICK; ORDER DUE 5/23/11
                   04/06/11: FILED ASSET NOTICE
                   03/30/11: RECEIVED ORDER APPROVING EMPLOYMENT OF MUSICK
                   03/30/11: FILED STATEMENT OF NO OBJECTION AND SUBMITTED ORDER APPROVING EMPLOYMENT OF AUCTIONEER - MUSICK
                   03/10/11: FILED NOTICE OF SALE ( MUSICK) - SKI NAUTIQUE BOAT; SALE DATE 4/12/11
                   03/02/11: FILED APPLICATION TO EMPLOY AUCTIONEER - MUSICK; ORDER DUE 3/29/11




                                                                                                                                 Printed: 12/13/2012 11:36 AM    V.13.11
               Case 11-00104-TLM                      Doc 47            Filed 01/08/13 Entered 01/08/13 16:04:00                                 Desc
                                                                           Page 8 of 10
                                                                                                                                                                 Exhibit 8


                                                                           Form 1                                                                                Page: 3

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 11-00104-TLM                                                       Trustee:       (320060)      Richard E. Crawforth
Case Name:       FEHRER, LYNN ADAM                                              Filed (f) or Converted (c): 01/14/11 (f)
                                                                                §341(a) Meeting Date:        02/17/11
Period Ending: 12/13/12                                                         Claims Bar Date:             07/05/11

                              1                                     2                      3                       4                    5                   6

                    Asset Description                           Petition/         Estimated Net Value          Property            Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)             Unscheduled    (Value Determined By Trustee,    Abandoned            Received by      Administered (FA)/
                                                                 Values         Less Liens, Exemptions,       OA=§554(a)            the Estate       Gross Value of
Ref. #                                                                              and Other Costs)          DA=§554(c)                            Remaining Assets

     Initial Projected Date Of Final Report (TFR):   September 15, 2011           Current Projected Date Of Final Report (TFR):       October 2, 2012 (Actual)




                                                                                                                                  Printed: 12/13/2012 11:36 AM    V.13.11
                 Case 11-00104-TLM                     Doc 47        Filed 01/08/13 Entered 01/08/13 16:04:00                                             Desc
                                                                        Page 9 of 10
                                                                                                                                                                         Exhibit 9


                                                                            Form 2                                                                                        Page: 1

                                                 Cash Receipts And Disbursements Record
Case Number:         11-00104-TLM                                                            Trustee:            Richard E. Crawforth (320060)
Case Name:           FEHRER, LYNN ADAM                                                       Bank Name:          The Bank of New York Mellon
                                                                                             Account:            9200-******99-66 - Checking Account
Taxpayer ID #: **-***5898                                                                    Blanket Bond:       $82,344,543.00 (per case limit)
Period Ending: 12/13/12                                                                      Separate Bond: N/A

   1            2                        3                                   4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                    Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From            Description of Transaction               T-Code              $                   $       Account Balance
03/29/11      {16}       IDAHO STATE TAX COMMISSION     2010 STATE TAX REFUND                           1224-000              1,087.00                                   1,087.00
03/29/11      {16}       U S TREASURY                   2010 FEDERAL TAX REFUND                         1224-000              2,398.00                                   3,485.00
04/07/11                 LYNN FEHRER                    NON EXEMPT BANK ACCT FUNDS                                               103.09                                  3,588.09
               {2}                                        NON EXEMPT CASH                   35.00       1129-000                                                         3,588.09
               {3}                                        NON EXEMPT BANK                   36.84       1129-000                                                         3,588.09
                                                          ACCT FUNDS
               {4}                                        NON EXEMPT BANK                   31.25       1129-000                                                         3,588.09
                                                          ACCT FUNDS
04/25/11      {12}       LYNN FEHRER                    PAYMENT FOR EQUITY IN HONDA                     1129-000                 100.00                                  3,688.09
                                                        MOTORCYCLE
04/27/11                 MUSICK & SONS, AUCTIONEERS     NET PROCEEDS FROM SALE OF 1997 SKI                                    8,955.00                               12,643.09
                         & APPRAISERS, INC.             NAUTIQUE BOAT
              {13}                                        GROSS SALES                  10,465.00        1129-000                                                     12,643.09
                                                          PROCEEDS AT
                                                          AUCTION
                            MUSICK & SONS,                AUCTIONEER'S FEES            -1,465.00        3610-000                                                     12,643.09
                            AUCTIONEERS &
                            APPRAISERS, INC.
                            MUSICK & SONS,                AUCTIONEER'S                      -45.00      3620-000                                                     12,643.09
                            AUCTIONEERS &                 EXPENSES
                            APPRAISERS, INC.
06/09/11      {12}       LYNN A FEHRER                  PAYMENT ON EQUITY IN 2008 HONDA CBR             1129-000                 310.35                              12,953.44
06/28/11      {12}       LYNN FEHRER                    PAYMENT FOR EQUITY IN 2008 HONDA                1129-000                 400.00                              13,353.44
08/01/11                 The Bank of New York Mellon    Bank and Technology Services Fee                2600-000                                         25.61       13,327.83
08/31/11                 The Bank of New York Mellon    Bank and Technology Services Fee                2600-000                                         31.05       13,296.78
09/26/11                 The Bank of New York Mellon    Bank and Technology Services Fee                2600-000                                         -0.91       13,297.69
                                                        Adjustment
09/30/11                 The Bank of New York Mellon    Bank and Technology Services Fee                2600-000                                         27.32       13,270.37
10/31/11                 The Bank of New York Mellon    Bank and Technology Services Fee                2600-000                                         26.36       13,244.01
11/30/11                 The Bank of New York Mellon    Bank and Technology Services Fee                2600-000                                         29.03       13,214.98
12/30/11                 The Bank of New York Mellon    Bank and Technology Services Fee                2600-000                                         27.15       13,187.83
01/31/12                 The Bank of New York Mellon    Bank and Technology Services Fee                2600-000                                         28.83       13,159.00
02/29/12                 The Bank of New York Mellon    Bank and Technology Services Fee                2600-000                                         26.06       13,132.94
03/12/12      {12}       LYNN A. FEHRER                 BALANCE OF EQUITY IN 2008                       1129-000                 300.00                              13,432.94
                                                        MOTORCYCLE
03/30/12                 The Bank of New York Mellon    Bank and Technology Services Fee                2600-000                                         27.23       13,405.71
04/19/12      {11}       LYNN A FEHRER                  PAYMENT FOR EQUITY IN LANDCRUISER               1129-000                 425.00                              13,830.71
04/30/12                 The Bank of New York Mellon    Bank and Technology Services Fee                2600-000                                         26.78       13,803.93

                                                                                              Subtotals :                  $14,078.44                  $274.51
{} Asset reference(s)                                                                                                                 Printed: 12/13/2012 11:36 AM        V.13.11
                 Case 11-00104-TLM                    Doc 47          Filed 01/08/13 Entered 01/08/13 16:04:00                                             Desc
                                                                         Page 10 of 10
                                                                                                                                                                            Exhibit 9


                                                                              Form 2                                                                                         Page: 2

                                                Cash Receipts And Disbursements Record
Case Number:        11-00104-TLM                                                                Trustee:            Richard E. Crawforth (320060)
Case Name:          FEHRER, LYNN ADAM                                                           Bank Name:          The Bank of New York Mellon
                                                                                                Account:            9200-******99-66 - Checking Account
Taxpayer ID #: **-***5898                                                                       Blanket Bond:       $82,344,543.00 (per case limit)
Period Ending: 12/13/12                                                                         Separate Bond: N/A

   1            2                        3                                      4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                       Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From              Description of Transaction                 T-Code              $                  $       Account Balance
05/31/12                The Bank of New York Mellon      Bank and Technology Services Fee                  2600-000                                        31.11        13,772.82
06/29/12                The Bank of New York Mellon      Bank and Technology Services Fee                  2600-000                                        27.28        13,745.54
10/31/12      101       Richard E. Crawforth             Dividend paid 100.00% on $41.81, Trustee          2200-000                                        41.81        13,703.73
                                                         Expenses; Reference:
10/31/12      102       Richard E. Crawforth             Dividend paid 100.00% on $2,308.84, Trustee       2100-000                                    2,308.84         11,394.89
                                                         Compensation; Reference:
10/31/12      103       CHASE BANK USA, N.A.             Reference your account : 0974 ( as provided       7100-000                                    7,735.13             3,659.76
                                                         on the p.o.c.); Dividend paid 52.04% on
                                                         Claim# 1; Amt Filed: $14,861.62;
10/31/12      104       RC WILLEY FINANCIAL SERVICES Reference your account : 9088 ( as provided           7100-000                                       197.58            3,462.18
                                                         on the p.o.c.); Dividend paid 52.04% on
                                                         Claim# 2; Amt Filed: $379.61;
10/31/12      105       FIA CARD SERVICES, NA/BANK       Reference your account : 8403/9258 ( as           7100-000                                    3,462.18                 0.00
                        OF AMERICA                       provided on the p.o.c.); Dividend paid 52.04%
                                                         on Claim# 3; Amt Filed: $6,651.94;

                                                                              ACCOUNT TOTALS                                   14,078.44              14,078.44               $0.00
                                                                                     Less: Bank Transfers                            0.00                   0.00
                                                                              Subtotal                                         14,078.44              14,078.44
                                                                                     Less: Payments to Debtors                                              0.00
                                                                              NET Receipts / Disbursements                    $14,078.44            $14,078.44



                                                                                                                                  Net             Net                   Account
                                                                              TOTAL - ALL ACCOUNTS                              Receipts     Disbursements              Balances

                                                                              Checking # 9200-******99-66                      14,078.44              14,078.44                 0.00

                                                                                                                              $14,078.44            $14,078.44                $0.00




{} Asset reference(s)                                                                                                                    Printed: 12/13/2012 11:36 AM        V.13.11
